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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
GMP:MPR                                             271 Cadman Plaza East
F. #2019R00927                                      Brooklyn, New York 11201


                                                    June 1, 2020

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

               The parties respectfully submit this written status update to the Court in the
above-captioned matter. In light of the COVID-19 pandemic presently affecting New York
City, the parties respectfully request that the Court adjourn this status conference for 60 days.
The parties agree that an order of excludable delay is appropriate until the next status
conference, based on the Court’s previous complex case designation in this matter and
Administrative Order 2020-14.

    Discovery

           o The government continues the process of collecting and reviewing discovery for
             production to the defendant on a rolling basis. Since the parties’ last status letter
             on March 27, 2020, the government has made two discovery productions, on
             April 14, 2020 and May 29, 2020, totaling nearly 60,000 pages of documents.
             Those productions include, among other things, statements of the defendant,
             financial records, business records and intercepted communications. See Dkt.
             Nos. 40, 41.

           o The government also is awaiting responses from outstanding subpoenas,
             including subpoenas to the defendant and his companies. In addition, the
             government has submitted Mutual Legal Assistance Treaty requests for
             evidence in the possession of several foreign governments, including the
             Government of Mexico, and the government is awaiting responses to those
             requests.
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            o The government has been working with defense counsel and the Bureau of
              Prisons to facilitate the defendant’s review of non-protected discovery at the
              Metropolitan Detention Center.

       Trial Preparation

            o The parties continue to face delays in preparing for trial in this case, in light of
              the pandemic, including limitations on the government’s ability to meet with
              incarcerated witnesses and limitations on defense counsel’s ability to meet with
              the defendant.

       CIPA

            o The government continues to face delays due to the pandemic in taking the
              necessary steps to complete litigation pursuant to the Classified Information
              Procedures Act, 18 U.S.C. App. 3, §§ 1-16 (“CIPA”), in this case, including
              limitations on its ability to review pertinent materials. The government expects
              to file its motion for a pretrial conference pursuant to Section 2 of CIPA, once
              it is has a better sense of the anticipated schedule for completing CIPA litigation.


                                                     Respectfully submitted,

                                                     RICHARD P. DONOGHUE
                                                     United States Attorney

                                             By:       /s/
                                                     Michael P. Robotti
                                                     Ryan Harris
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cc:      Cesar de Castro, Esq.
         Clerk of the Court (BMC) (by ECF)




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